            Case 5:09-cv-01679-HGD Document 5 Filed 10/26/09 Page 1 of 2                FILED
                                                                               2009 Oct-26 PM 03:14
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA




                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ALABAMA
                          NORTHEASTERN DIVISION

SHERRY LEWIS,                              )
                                           )
                                           )
                Plaintiff,                 )
                                           )
v.                                         )   5:09-cv-01679-HGD
                                           )
GENERAL REVENUE                            )
CORPORATION                                )
        Defendant                          )

 PLAINTIFF’S MOTION TO VOLUNTARY DISMISS CLAIMS AGAINST
              GENERAL REVENUE CORPORATION

          Comes now Sherry Lewis and respectfully requests this Honorable Court to

dismiss Plaintiff’s claims against General Revenue Corporation as follows:

     1.      The Plaintiff and Defendant have resolved their differences and desire

             that the claims against the Defendant General Revenue Corporation be

             dismissed with prejudice, costs taxed as paid.

          WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully

requests this Honorable Court to grant this Motion of dismissal with prejudice

against the Defendant General Revenue Corporation.
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                                              Respectfully Submitted,

                                              /s/ John G. Watts
                                              John G. Watts
                                              Attorney for Plaintiff

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                                              /s/ M. Stan Herring________
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                         CERTIFICATE OF SERVICE

I hereby certify that I have served a copy of the foregoing pleading through this
court’s electronic filing and notification system and via email on this the 26th Day
of October, 2009.


                                              /s/ John G. Watts
                                              Of Counsel




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